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2 AO 470 (Rev. 12/03) Order of Temporary Detention


                                            UNITED STATES DISTRICT COURT
                          NORTHERN                                         District of                                          OHIO



           UNITED STATES OF AMERICA                                                          ORDER OF TEMPORARY DETENTION
                                                                                              PENDING HEARING PURSUANT TO
                                 V.                                                                 BAIL REFORM ACT



                      Patricia G. Bonchek                                            Case Number: 1:23-cr-00583-JPC
                            Defendant




      Upon motion of the                                            United States of America                                          , it is ORDERED that a

detention hearing is set for                          11/15/2023                     * at                                    1:00 pm
                                                         Date                                                                  Time

before                                                     Magistrate Judge Jennifer Dowdell Armstrong
                                                                           Name of Judicial Officer

                                Courtroom 9B, U.S. Courthouse, 801 W. Superior Ave., Cleveland, OH 44113
                                                                   Location of Judicial Officer

Pending this hearing, the defendant shall be held in custody by (the United States marshal)

(                                                                                                                            ) and produced for the hearing.
                                               Other Custodial Official




Date:                              11/7/2023
                                                                                                                          U.S. Magistrate Judge




*If not held immediately upon defendant’s first appearance, the hearing may be continued for up to three days upon motion of the Government, or up to
five days upon motion of the defendant. 18 U.S.C. § 3142(f)(2).
      A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (1) sets forth the grounds that may be asserted only
by the attorney for the Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for the Government or upon the judicial
officer’s own motion if there is a serious risk that the defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate,
or attempt to threaten, injure, or intimidate a prospective witness or juror.
